JS 44 (Rev. 04/21)                 Case 2:22-cv-01425-HB
                                                    CIVILDocument
                                                          COVER1SHEET
                                                                  Filed 04/12/22 Page 1 of 11
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
         Benjamin M. Auslander                                                                           Tredyffrin/Easttown School District and Arthour J. McDonnell
   (b) County of Residence of First Listed Plaintiff             Chester                                 County of Residence of First Listed Defendant              Chester
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)

         Walter S. Zimolong III, Esq., Zimolong, LLC, 353 West
         Lancaster Avenue, Suite 300, Wayne, PA (215) 665-0842
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product             Product Liability            690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability              367 Health Care/                                                         INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                    Personal Injury                                                    820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                  830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability              368 Asbestos Personal                                                  835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                      Injury Product                                                         New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product              Liability                                                          840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                   710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                  Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability       380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal              Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                  385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -           Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                               or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                            871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                     IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment              Other:                            462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -  540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                         Other                   550 Civil Rights                      Actions                                                                State Statutes
                                     448 Education               555 Prison Condition
                                                                 560 Civil Detainee -
                                                                     Conditions of
                                                                     Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       United States Constitution, Art. I
VI. CAUSE OF ACTION Brief description of cause:
                                       This is a first amendment retaliation case where the school district threatened plaintiff with criminal and civil liability for speaking about curriculum.
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
Apr 12, 2022
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 04/21)   Case 2:22-cv-01425-HB Document 1 Filed 04/12/22 Page 2 of 11
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                              Case 2:22-cv-01425-HB
                                                UNITEDDocument   1 Filed
                                                       STATES DISTRICT   04/12/22 Page 3 of 11
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                          c/o Zimolong LLC, 353 West Lancaster Avenue, Suite 300, Wayne, PA 19087
Address of Plaintiff: ______________________________________________________________________________________________
                                      940 West Valley Road, Suite 1700, Wayne, PA 19087
Address of Defendant: ____________________________________________________________________________________________
                                                    940 West Valley Road, Suite 1700, Wayne, PA 19087
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      04/12/2022
DATE: __________________________________                                     Must sign here
                                                             __________________________________________                                     89151
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                      1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________

✔      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

          Walter S. Zimolong III
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

             Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔
             Relief other than monetary damages is sought.


      04/12/2022
DATE: __________________________________                                   Sign here if applicable
                                                             __________________________________________                                     89151
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 BENJAMIN M. AUSLANDER                     :        No.
                                           :
                     Plaintiff             :
                                           :
 v.                                        :
 TREDYFFRIN/EASTTOWN                       :
 SCHOOL DISTRICT, ARTHUR J.                :
 MCDONNELL, in his individual and          :
 official capacities.                      :
                      Defendants           :


                                    COMPLAINT

      This is a first amendment retaliation case. The First Amendment protects in-

dividuals from reprisal by government officials in exercising their First Amendment

rights. Hartman v. Moore, 547 U.S. 250, 256 (2006) (“Official reprisal for protected

speech offends the Constitution [because] it threatens to inhibit exercise of the pro-

tected right and the law is settled that as a general matter the First Amendment

prohibits government officials from subjecting an individual to retaliatory actions,

including criminal prosecutions, for speaking out.”) (citations and quotations omit-

ted). The First Amendment also protects “the public's right of access to information

about their officials' public activities.” Fields v. City of Philadelphia, 862 F.3d 353,

359 (3d Cir. 2017). Access to information leading to “discourse on public issues” is

accorded “the highest rung of hierarchy of First Amendment values and is entitled to

special protection.” Id. (citations omitted). The First Amendment’s protection to indi-

viduals to access important information includes the right to record (by video or



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audio) government conduct. Id. (The First Amendment protects an individual’s right

to “record what there is the right for the eye to see or the ear to hear.”)

       The teaching of critical race theory (“CRT”) in the nation’s public schools has

engendered a robust discourse and debate. Joshua Jamerson, “Critical Race Theory:

What It Means for America and Why It Has Sparked Debate,” Wall Street Journal

(July 17, 2021). 1 Defendant Tredyffrin/Easttown School District openly maintains a

CRT curriculum and indoctrination program for teachers, staff, and students.

https://www.tesd.net/Page/16577 (last visited March 22, 2022). Plaintiff, Mr.

Auslander, is a parent of a student in the school district and a taxpayer who made a

Right to Know Request to access the school district’s CRT program materials. He has

requested all records, lessons, and materials prepared by Pacific Educational Group

(“PEG”), the school district’s CRT consultant. The school district denied his request

to provide the records, lessons, and materials, but granted an in-camera review of the

material created by PEG.

       During that in-camera review, Mr. Auslander chose to make a voice recording

of what he was observing from the materials produced. Defendants threatened him

with civil and criminal liability if he continued to make a verbal record of what he

was reading. When Mr. Auslander continued to make audio recordings of his inspec-

tion, Defendants ended the inspection and forced plaintiff to leave the premises.




       1https://www.wsj.com/articles/critical-race-theory-what-it-means-for-america-and-why-it-
has-sparked-debate-11623956268 (last accessed March 22, 2022).


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      Plaintiff seeks a preliminary injunction against Defendants prohibiting them

from interfering with his constitutional right to speak and record his voice while con-

ducting a public records inspection. He also seeks nominal damages.

                          PARTIES, JURISDICTION, AND VENUE

      1.      Plaintiff, Benjamin M. Auslander, is a resident of Chester County Penn-

sylvania and a taxpayer in the Tredyffrin /Easttown School District.

      2.      Defendant Tredyffrin/Easttown School District (“School District”) is a

political body organized under the law of the Commonwealth of Pennsylvania.

      3.      Defendant Arthur J. McDonnell is the business manager and secretary

of the Tredyffrin/Easttown Board of Education. At all relevant times Mr. McDonnell

was acting as an agent, servant, or employee of the Tredyffrin/Easttown School Dis-

trict and acting within the scope of his employment. Mr. McDonnell has final decision-

making authority for the School District and is responsible for implementing the pol-

icies, practices, customs, and procedures for the School District. Mr. McDonnell is

sued in his official and individual capacity.

      4.      The Court has subject-matter jurisdiction under 28 U.S.C. § 1331, 28

U.S.C. § 1343, and 42 U.S.C. § 1983.

      5.      Venue is proper because a substantial part of the events giving rise to

the claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).




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                                STATEMENT OF FACTS

      6.      Defendant Tredyffrin/Easttown School District openly maintains a CRT

curriculum and indoctrination program for teachers, staff, and students.

https://www.tesd.net/Page/16577 (last visited March 22, 2022).

      7.      The curriculum and program are produced by a third-party vendor, Pa-

cific Educational Group. Id.

      8.      The School District pays for the PEG CRT curriculum and program us-

ing taxpayer funds.

      9.      Mr. Auslander is a parent of a student in the school district and a tax-

payer in the school district.

      10.     Mr. Auslander made a Right to Know Request on January 19, 2022 for

all records, lesson plans, and materials prepared by PEG, the school district’s CRT

consultant.

      11.     On January 26, 2022, Defendants denied Plaintiff’s request for copies of

the PEG training materials asserting the materials were protected by copyright.

      12.     On January 26, 2022, Defendants agreed to allow Plaintiff to conduct an

in-camera review of the PEG CRT training materials. However, Mr. Auslander was

notified he could not copy or photograph the records because the documents were

protected by copyright.

      13.     On February 7, 2022, Mr. Auslander went to the Tredyffrin/Easttown

School Board Administrative Offices located at 940 West Valley Road, Suite 1700,




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Wayne, PA 19087, to inspect the records. Defendant, Mr. McDonnell was present at

the inspection.

         14.   During Mr. Auslander’s review of the records he made verbal recordings

on his smart phone of what his eyes were seeing.

         15.   Defendant, Mr. McDonnell, threatened Mr. Auslander with criminal

and civil liability if he continued to record the sound of his own voice describing what

his eyes were seeing. Defendant, Mr. McDonnell threatened to hold plaintiff liable

under the Wiretapping and Electronic Surveillance Control Act for recording his own

voice. He also threatened to hold plaintiff liable under “copyright laws.”

         16.   Defendant, Mr. McDonnell also called the school district’s attorney and

threatened to call PEG’s attorney.

         17.   After Mr. Auslander refused to stop recording his voice, Defendant Mr.

McDonnell terminated the meeting and ordered plaintiff to vacate the premises.

         18.   Defendant, Mr. McDonnell made these threats after consulting with

counsel.

         19.   At all times, Defendant Mr. McDonnell was acting as an actual or ap-

parent agent or official representative of Defendant Tredyffrin/Easttown School Dis-

trict.

         20.   Defendant, Mr. McDonnell, was or should have been aware that by

threatening, coercing, and ending Mr. Auslander’s inspection of public documents be-

cause Mr. Auslander was exercising his first amendment right to speak, Defendant,

Mr. McDonnell was violating Mr. Auslander’s clearly established rights.




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      21.    Defendants knowingly violated Mr. Auslander’s clearly established Con-

stitutional rights.

                                    CAUSES OF ACTION

                      Claim 1: Restriction on First Amendment Rights
                                      42 U.S.C. § 1983

      22.    It is the official custom, practice, and policy of the school district to pro-

hibit individuals from video or voice recording documents related to the school dis-

trict’s CRT program or documents produced by PEG for the school district.

      23.    The official custom, practice, and policy is not narrowly tailored to

achieve a compelling government interest.

      24.    Defendants violated plaintiff’s First Amendment rights when they used

the official custom, practice, and policy to prohibit plaintiff from making video or voice

recordings of what he observed from the materials the school district produced in

response to Mr. Auslander’s Right to Know Request.


                          Claim 2: First Amendment Retaliation
                                     42 U.S.C. § 1983

      25.    Mr. Auslander engaged in constitutionally protected conduct when he

created a voice recording on what he was observing during his inspection of the doc-

uments the school district produced in response to his Right to Know Request.

      26.    Defendants engaged in retaliatory conduct through threats of civil and

criminal penalties, and ultimately removing Mr. Auslander from the premises.

      27.    Defendants’ conduct was sufficient to deter a person of ordinary firm-

ness from exercising his constitutionally protected right.



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       28.      There is a casual link between the constitutionally protected conduct

and the retaliatory action.

       29.      Defendants’ threats were contemporaneous with Mr. Auslander’s pro-

tected speech.

       30.      Defendant School District is liable because Defendant Mr. McDonnell

has final decision-making authority. He is an actual or apparent agent of the School

District.

       31.      Defendant School District is liable because it is the official custom and

policy of the School District to prohibit audio or video recording of the PEG training

materials which are public records.

       32.      Mr. Auslander had a right to inspect these public records.

                                    DEMAND FOR RELIEF

       33.      Plaintiff respectfully requests that the court:

               a.     enter a preliminary and permanent injunction that prevents de-

            fendants from interfering with Plaintiff, Mr. Auslander’s constitutionally

            protected First Amendment rights;

               b.     enter a preliminary and permanent injunction prohibiting De-

            fendants from interfering with Plaintiff, Mr. Auslander’s constitutionally

            protected First Amendment right to video and audio record or copy or pho-

            tocopy all records Defendants produced in response to plaintiff’s right to

            know request;




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           c.     enter a preliminary and permanent injunction prohibiting De-

        fendants from preventing Plaintiff, Mr. Auslander, from making video or

        voice recording or copies or photocopies of any material prepared by Pacific

        Educational Group;

           d.     awarding plaintiff nominal damages;

           e.     award costs and attorneys’ fees under 42 U.S.C. § 1988; and

           f.     award all other relief that the Court deems just, proper, or equi-

        table.


                                            Respectfully submitted,

Dated: April 12, 2022                       /s/ Walter S. Zimolong
                                            WALTER S. ZIMOLONG III, ESQUIRE
                                            Zimolong, LLC
                                            Attorney I.D. 89151
                                            wally@zimolonglaw.com
                                            PO Box 552
                                            Villanova, PA 19085-0552
                                            Tele: 215-665-0842

                                            /s/ Nicholas R. Barry
                                            (pro hac vice pending)
                                            America First Legal Foundation
                                            Tennessee Bar No. 031963
                                            nicholas.barry@aflegal.org
                                            611 Pennsylvania Ave SE #231
                                            Washington, DC 20003




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